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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISION
UNITED STATES OF AMERICA )
Plaintiff, l
VS § CR. NO. 04-20021-D
TIM WESTBROOKS §
Defendant. ))

 

ORDER TO SURRENDER

 

The defendant, Tim Westbrooks, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Memphis,
1101 John A. Deoie Road, Memphis, Termessee 38134 by 2:00 p.m. on TUESDAY, AUGUST 2,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Ofiice Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this the/35 day of April, 2005.

 

UN D STATES DISTRICT JUDGE

Th'ss document entered on the docket sh et in com I`r nce
with a.n@ 55 and/or 32¢1)) ssach on 91 'J 2 ' OPS /€Cp

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 196 in
case 2:04-CR-20021 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

